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c12)   United States Patent                                                (IO)    Patent No.:            US 9,786,822 B2
       Margalit                                                            (45)    Date of Patent:                    Oct. 10, 2017

(54)   LIGHT EMITTING DIODE PACKAGE AND                                                        2933/0016 (2013.01); H0lL 2933/0025
       METHOD OF MANUFACTURE                                                            (2013.01); H0lL 2933/0033 (2013.01); H0lL
                                                                                               2933/0041 (2013.01); H0lL 2933/0066
(71)   Applicant: Mordehai Margalit, Zichron Yaaqov                                                                         (2013.01)
                  (IL)                                                (58)       Field of Classification Search
                                                                                 CPC ..... H01L 33/64; H0lL 33/644; H0lL 33/647;
(72)   Inventor:     Mordehai Margalit, Zichron Yaaqov                                      H0lL 33/50-33/508; H0lL 33/52-33/58;
                     (IL)                                                                   H0lL 33/0079; H0lL 33/95; H0lL 33/44
                                                                                 See application file for complete search history.
( *)   Notice:       Subject to any disclaimer, the term ofthis
                     patent is extended or adjusted under 35          (56)                     References Cited
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(63)   Continuation of application No. 13/413,407, filed on
       Mar. 6, 2012, now Pat. No. 8,941,137.                          Primary Examiner - Brett Feeney
                        (Continued)                                   Assistant Examiner - Erik T Peterson
                                                                      (74) Attorney, Agent, or Firm - Intrinsic Law Group
(51)   Int. Cl.
       H0JL 33/50               (2010.01)                             (57)                       ABSTRACT
       H0JL 33/64               (2010.01)                             A light emitting diode (LED) device and packaging for same
       H0JL 33162               (2010.01)
                                                                      is disclosed. In some aspects, the LED is manufactured
       H0JL 33/00               (2010.01)
                                                                      using a vertical configuration including a plurality oflayers.
       H0JL 33/56               (2010.01)
                                                                      Certain layers act to promote mechanical, electrical, ther-
                          (Continued)                                 mal, or optical characteristics of the device. The device
(52)   U.S. Cl.                                                       avoids design problems, including manufacturing complexi-
       CPC ........ H0JL 33/502 (2013.01); H0JL 33/0012               ties, costs and heat dissipation problems found in conven-
            (2013.01); H0JL 33132 (2013.01); H0JL 33/40               tional LED devices. Some embodiments include a plurality
                   (2013.01); H0JL 33/44 (2013.01); H0JL              of optically permissive layers, including an optically per-
                  33/507 (2013.01); H0JL 33152 (2013.01);             missive cover substrate or wafer stacked over a semicon-
            H0JL 33/56 (2013.01); H0JL 33/58 (2013.01);               ductor LED and positioned using one or more alignment
                      H0JL 33162 (2013.01); H0JL 33/647               markers.
             (2013.01); H0lL 33/50 (2013.01); H0lL 33/60
                (2013.01); H0JL 2933/005 (2013.01); H0lL                                10 Claims, 18 Drawing Sheets

                                              1701\

                                                                  LENS



                                                              Cover substrate




                                       1780
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                                                                100




                                  GaN layers




                                   Sapphire




                                                          110




                                    Fig. 1
                                  (Prior Art)
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                                                 220




    225
                                   Carrier




                                  GaN layers                   ----200




                                   Sapphire




                                                         210


           230




                                     Fig. 2
                                   (Prior Art)
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          30


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                                                    300


    325



      "
                                   GaN layers




                                     Carrier




                   320




                                     Fig. 3
                                   (Prior Art)
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                            430                       400


    425

                                   GaN layers




                                    Carrier




                    420




                                    Fig. 4
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                                                         Fig. 5
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              60


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                                                           660
                                             650



                                           LENS



                                       Cover Substrate

                                              Phospor/QD


          630                              Gahl
                                                                       645

                                          Carrier
                                                                 600
              625



                side view                            620




                                           Fig. 6
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 9 of 25


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              710

                                                       750




    730




                                    700




                                    Fig. 7
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     80


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                                          LENS




            Stand off                   Phospor/QD                Stand off

                                        GaN layers

     837                                                                      837
                                          Carrier




            side view                                       845




                                           Fig. 8
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           90

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                                       LENS



                                    Cover substrate



                                     Phospor/QD



                                    GaN layers




     925                               Carrier




            920
                    l
                    922




                                        Fig. 9
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 12 of 25


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       1001


          ~


                                        LENS



                                     Cover substrate



                                      Phospor/QD



                                      GaN layers



                                        Carrier




                     1022
              1020




                                        Fig.10
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 13 of 25


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          1101~




                                      LENS



                                  Cover substrate
   1100


                                    Pllospor/QD



                                    GaN layers



                                      Carrier



                                  Passivation layer



                  1122
           1120
                                                      1170




                                      Fig. 11
       Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 14 of 25


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          1201\

                                       LENS



                                 Cover substrate



                                     PhosporiQD



                                     GaN layers



                                       Carrier

1202




                              1270




                                      Fig. 12
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 15 of 25


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            1301\

                                      LENS



                                  Cover substrate



                                   Phospor/QD



                                   GaN layers



                                      Carrier



                                  Passivation layer



                  1370




                                     Fig. 13
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 16 of 25


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           1401\




                                      LENS



   1430                            Cover substrate



                                    Phospor/0D



                                    GaN layers



                                      Carrier




    1470                                                       1420
                    1472

                                                1474




                                    Fig. 14
    Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 17 of 25


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            1501 \




                                        LENS



   1530
                                     Cover substrate



                                      Phospor/QD



                                      GaN layers




                                        Carrier




     1570

                       r
                      1572




                                       Fig. 15
     Case 6:21-cv-00292-ADA Document 1-4 Filed 03/25/21 Page 18 of 25


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                                       LENS



                                    Cover substrate



                                     Phospor/QD



                                     GaN layers




                                       Carrier
  1670---




                                                           1600

             1680

                    1685




                                      Fig. 16
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             1701\

                                     LENS



                                  Cover substrate



                                   Phospor/QD



                                   GaN layers



                                     Carrier




      1780




                                     Fig. 17
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                        1801a               1801b



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                                  Fig. 18
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                                                     US 9,786,822 B2
                              1                                                                      2
     LIGHT EMITTING DIODE PACKAGE AND                                    Accordingly, there is a need for LED devices that do not
          METHOD OF MANUFACTURE                                        suffer from some or all of the above problems.

                RELATED APPLICATIONS                                                           SUMMARY

   This application is a continuation of and claims the benefit           A light emitting diode (LED) device and packaging for
and priority of U.S. application Ser. No. 13/413,407 entitled          same is disclosed. In some aspects, the LED is manufactured
"Light Emitting Diode Package and Method of Manufac-                   by epitaxial growth or other chemical or physical deposition
ture" filed on Mar. 6, 2012, which claims the benefit and              techniques of a plurality of layers. Certain layers act to
priority of U.S. Provisional Application Nos. 61/449,685          10   promote mechanical, electrical, thermal, or optical charac-
and 61/449,686, both filed on Mar. 6, 2011, all of which are           teristics of the device. The device avoids design problems,
                                                                       including manufacturing complexities, costs and heat dissi-
hereby incorporated by reference.
                                                                       pation problems found in conventional LED devices. Some
                    TECHNICAL FIELD                                    embodiments include a plurality of optically permissive
                                                                  15   layers, including an optically permissive cover substrate or
                                                                       wafer stacked over a semiconductor LED and positioned
   The present application is directed to a light em1ttmg
                                                                       using one or more alignment markers.
diode (LED) device implemented on a wafer cover layer and
                                                                          Some embodiments are directed to a light emitting device,
provided with features permitting efficient and repeatable             comprising a semiconductor LED including doped and
manufacture of the same.                                          20   intrinsic regions thereof; a conducting carrier layer disposed
                                                                       proximal to a first surface of said semiconductor LED and
                      BACKGROUND                                       separated therefrom by a metallic interface; an optically
                                                                       permissive layer proximal to a second surface of said
   A light emitting diode (LED) is a semiconductor device              semiconductor LED, said first and second surfaces of said
that is configured to receive electrical power or stimulation     25   semiconductor LED being on opposing faces thereof; an
and to output electromagnetic radiation, commonly in the               optically definable material proximal to or within said
visible range of the spectrum (light). Portions of a LED               optically permissive layer that affects an optical character-
comprise doped semiconductor materials that operate to                 istic of emitted light passing therethrough; and an optically
combine charge in a way that releases said light energy from           permissive cover substrate covering at least a portion of the
the body of the LED material. The output energy or light is       30   above components.
determined by the band gap of the semiconductor materials                 Other embodiments are directed to ways of making such
and operating conditions of the LED.                                   a light emitting device or a group of devices on a wafer in
   Light emitting diodes (LEDs) compare favorably to other             a manufacturing context. Specifically, embodiments are
sources of light and are especially useful in certain appli-           directed to a method for making a light emitting device, the
cations and markets. For example, LED lighting generally          35   method comprising forming a plurality of doped layers in a
provides advantages with respect to energy efficiency, com-            light emitting device (LED) disposed on conductive carrier
pact, rugged, long-lasting design and form factor, as well as          layer; forming a recess in said conductive carrier layer and
other features. LED lighting compares favorably with other             said LED so as to allow electrical contact with a first doped
sources in the amount of light energy generated in the visible         layer of said LED at a depth of said first doped layer in said
electromagnetic spectrum compared to the infra-red or heat        40   LED; providing electrical contact to a second doped layer of
energy wasted by the light source. In addition, LED lights             said LED proximal to said conductive layer so as to bias the
include fewer environmentally damaging components when                 LED using a bias voltage applied between said first and
compared to other light forms, and therefore provide better            second doped layers of the LED; and securing the LED to an
compliance with restrictions on hazardous substances                   optically permissive cover substrate using an optically per-
(RohS) regulations.                                               45   missive layer including an optically definable material
   That said, conventional LED devices can be relatively               through which light generated by said LED can pass.
costly to manufacture by some metrics when compared to
other light sources. One reason for this is the exacting                     BRIEF DESCRIPTION OF THE DRAWINGS
packaging requirements for manufacturing LEDs. LED
packaging calls for proper clean conditions, micro-fabrica-       50      For a fuller understanding of the nature and advantages of
tion facilities similar to other semiconductor manufacturing           the present concepts, reference is made to the following
operations, sealing requirements, optical requirements, the            detailed description of preferred embodiments and in con-
use of phosphor in LED applications, as well as packaging              nection with the accompanying drawings, in which:
that is designed to handle the conduction of heat generated               FIG. 1 illustrates a semiconducting LED layer above a
in the devices.                                                   55   sapphire layer according to the prior art;
   Conventional LED packaging includes silicon (Si) or                    FIG. 2 illustrates an exemplary light emitting device or
Ceramic based carrier substrates. The LEDs can be mounted              LED formed by laser liftoff according to the prior art;
on the carrier, or alternatively the many LEDs can be                     FIG. 3 illustrates an exemplary light emitting device
mounted on a wafer of the carrier and the LEDs are                     resulting from the laser liftoff according to the prior art;
singulated at the end of the packaging process. The wafer         60      FIG. 4 illustrates a device having a metal pad deposited on
based approach is termed wafer level assembly packaging                a portion of the GaN layers of the device;
(WLP). However, these conventional techniques require the                 FIG. 5 illustrates a top view of the above device;
use of a carrier substrate to support the LED, which can                  FIG. 6 illustrates a cross sectional view of an exemplary
double the cost of making and packaging the LED device. In             light emitting device;
addition, the carrier substrate greatly increases the thermal     65      FIG. 7 illustrates an LED device in a top view thereof;
resistivity of the device and adversely affects its heat                  FIG. 8 illustrates another exemplary cross sectional view
removal characteristics.                                               of a LED device;
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                                                     US 9,786,822 B2
                              3                                                                        4
   FIG. 9 illustrates a light emitting device similar to those         provides an interface for GaN layer 200 and carrier layer
described above except that a recess is etched into the carrier        220. In another embodiment, the LED layers are grown on
layer;                                                                 a Silicon Carbide wafer, the Silicon Carbide wafer is elec-
   FIG. 10 illustrates yet another exemplary light emitting            trically conductive and optically transparent. Hence it does
device cross section;                                             5    not need to be removed and may be maintained. The
   FIG. 11 illustrates an exemplary light emitting device              electrically conductive aspect of it will be addressed in the
similar to the last described devices including a passivation          specific description.
layer;                                                                    Laser liftoff is applied (represented by 230) to cause
   FIG. 12 shows a similar device to those described above,            separation of LED GaN layer 200 from underlying sapphire
with its passivation layer being cut;                             10   layer 210. The resulting structure after the step oflaser liftoff
   FIG. 13 illustrates a shaped edge of the above passivation          is shown in FIG. 3. In the case of a Silicon Carbide wafer
layer in a light emitting device;                                      there is no need for the laser lift off and the structure contains
   FIG. 14 illustrates another exemplary light emitting LED            the Silicon Carbide wafer. In the case of Silicon, an alter-
device;                                                                native option to laser lift off is the chemical etching of the
   FIG. 15 illustrates yet another exemplary light emitting       15   Silicon wafer.
device;                                                                   FIG. 3 illustrates a light emitting device 30 comprising a
   FIG. 16 illustrates still another embodiment of a light             semiconductor LED layer 300, a metallic interface 325 and
emitting device;                                                       a Copper or Silicon (or similar) carrier layer 320.
   FIG. 17 illustrates an exemplary light emitting LED                    FIG. 4 illustrates a device similar to that of FIG. 3 with a
device; and                                                       20   metal pad 430 deposited on a portion of the GaN layers 400
   FIG. 18 illustrates how more than one LED device like               of the device. In an embodiment, the GaN layer comprises
those described above can be manufactured on a single                  a P-I-N junction having strata therein including a P-type
manufacturing platform or wafer.                                       doped layer, a N-type doped layer and an intrinsic (I)
                                                                       semiconductor layer in the middle between the P and N type
                DETAILED DESCRIPTION                              25   layers. In operation, electrons flowing from the N type layer,
                                                                       recombine with holes flowing from the P-type layer in the
   Modem LED devices are based on semiconducting mate-                 intrinsic layer. The recombination results in the emission of
rials and their properties. For example, some LEDs are made            a photon with a wavelength corresponding to the band gap
using gallium nitride (GaN) which is a type of bandgap                 of the semiconductor.
semiconductor suited for use in high power LEDs. GaN              30      FIG. 5 illustrates a top view of the same device. The figure
LEDs are typically epitaxially grown on a sapphire sub-                shows the relative configuration of the metal pad 530
strate. These LEDs comprise a P-I-N junction device having             connected to a mesh, labyrinthine or convoluted or serpen-
an intrinsic (I) layer disposed between a N-type doped layer           tine or fingered top electrode 540, which conducts bias
and a P-type doped layer. The device is driven using suitable          current in the top layer of the GaN LED layers 500.
electrical driving signals by way of electrodes or contacts       35      It should be appreciated that GaN type LEDs are not the
coupled to the N and the P type portions of the LED.                   only kind of LED materials that can be employed in the
Electronic activity causes the emission of visible electro-            present discussion, but that the present description is merely
magnetic radiation (light) from the intrinsic portion of the           illustrative so that those skilled in the art can appreciate
device according to the electromotive force applied thereto            some preferred embodiments and methods for making and
and configuration of the device.                                  40   designing the present LEDs. Similarly, in the following
   The embodiments described and illustrated herein are not            preferred and exemplary illustrations, it is to be understood
meant by way of limitation, and are rather exemplary of the            that many other similar and equivalent embodiments will be
kinds of features and techniques that those skilled in the art         apparent to those skilled in the art and which accomplish
might benefit from in implementing a wide variety of useful            substantially the same result. This is true as to variations in
products and processes. For example, in addition to the           45   the geometry, layout, configurations, dimensions, and choice
applications described in the embodiments below, those                 of materials and other aspects described in the present
skilled in the art would appreciate that the present disclosure        examples. Specifically, certain described elements and steps
can be applied to making and packaging power integrated                can be omitted, or others can be substituted or added to that
circuit (IC) components, radio frequency (RF) components,              which is described herein for the sake of illustration without
micro electro-mechanical systems (MEMS), or other dis-            50   materially affecting the scope of the present disclosure and
crete components.                                                      inventions. Furthermore, the embodiments can also be used
   FIG. 1 illustrates a light emitting device or LED device,           for additional electronic devices such as power transistors
10 such as those described above, having a GaN layer 100,              (power IC), RF components (RFIC) as well as Micro Electro
which is a semiconductor LED, disposed on a sapphire layer             Mechanical systems (MEMs).
110. The device of FIG. 1 is usually processed using some         55      FIG. 6 illustrates a cross sectional view of an exemplary
semiconductor micro fabrication techniques. In some                    light emitting device 60. The device 60 includes the GaN
examples, portions of the LED (GaN layer) are etched away              LED layer 600 separated from the carrier layer 620 by a
or removed using techniques known to those skilled in the              metallic interface 625 as described above. Metal pad 630 is
art. Other applications of conducting and non-conducting               disposed on the LED layer 600.
layers are applied to such a base design, along with channels     60      An optically transparent or transmissive adhesive layer
and vias for various functionality as will be described below.         640 is placed against the opposing side of the LED material
   FIG. 2 illustrates an exemplary light emitting device or            600 than the carrier 620 is (meaning, one face of the LED
LED 20 including a semiconductor (e.g., GaN) layer 200                 600 is proximal to the carrier 620 and the other opposite face
disposed on a sapphire, or Silicon wafer 210. The LED layer            of the LED 600 is proximal to the transparent adhesive layer
200 is further coupled on one side to a thermally and             65   640. The transparent or optically permissive adhesive layer
electrically conductive carrier layer 220, which may be                640 may be composed of silicone or some other suitable
Copper or Silicon. A metallic interface 225 separates but              material that can provide adhesion or epoxy quality to bond
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or mechanically couple elements oflight emitting device 60.           thermoplastic material and created by embossing or injec-
In an additional embodiment, the adhesive layer may be                tion molding, or the structures can be made by applying a
photo definable. In case the Silicon Carbide wafer is kept, in        layer of photo definable material such as polymide or solder
an additional embodiment, the adhesive is index matched to            mask and exposing the material to light using a suitable
the Silicon Carbide to reduce optical reflections at the         5    mask. The standoff structures 837 can be used to encase the
interface. In other cases the adhesive layer refractive index,        QD or phosphor material 845, or alternatively to provide a
or composition, can be designed to minimize reflections               cavity for the material deposition.
from the GaN layers.                                                     FIG. 9 illustrates a light emitting device 90 similar to
    Within, or contiguous to transparent or optically permis-         those described above except that a recess is etched into the
sive adhesive layer 640 is a region containing phosphor          10   carrier layer 920 exposing the metallic interface 925 sepa-
and/or quantum dot material (QD) 645. In operation, pho-              rating the carrier layer 920 from the GaN LED layers 900.
tons emitted from LED layer 600 travel through said opti-             The recess 922 can form the basis for electrical contact
cally transparent adhesive layer 640 and the region contain-          points for the device.
ing the phosphor and/or quantum dots 645. This causes color              FIG. 10 illustrates yet another exemplary light emitting
(wavelength) control and emission of selective desired light     15   device 1001 cross section. Here, the recess 1022 has been
out of the LED device as further described herein.                    etched or created deeper into the device so that it extends
    One, two or more alignment marks 650 are provided on              through the carrier layer 1020 and the metallic interface
or in the transparent adhesive layer 630 and are used to align        1025 and also into GaN layer 1000 all the way to reach the
the LED body over a cover substrate 655 sheet and generally           metal pad 1030. Electrical contact with the exposed com-
in an extended wafer structure during manufacture. The           20   ponents is possible, or the assembly can be further filled with
cover substrate 655 provides structural presence and                  suitable materials as described below.
mechanical coupling for elements of the LED device 60. The               FIG. 11 illustrates an exemplary light emitting device
cover substrate 655 is also transparent or optically permis-          1101 similar to the last described devices including a pas-
sive to light in the wavelength emitted by LED layer 600 and          sivation layer 1170 that has been applied to surround certain
Phosphor layer.                                                  25   portions of the device around LED semiconducting layer
    In some embodiments, an optical lens 660 may be placed            1100, metallic interface 1125, and carrier layer 1120. The
on the cover substrate 655 substantially above the body of            passivation material 1170 fills the cavity or recess 1122
the LED emitting portions of the device 60. The lens 660 can          described earlier. The passivation layer 1170 can comprise a
act to spread, diffuse, collimate, or otherwise redirect and          non conductive layer and can be composed of SiO2, SiN,
form the output of the LED.                                      30   AlN, Al2O3 or an organic material such as epoxy, or
    FIG. 7 illustrates an LED device 70 in a top view thereof.        electrophoretic deposited paint as used in the car industry, or
The device includes substantially the elements described              spray coated. In one embodiment, the passivation layer 1170
above with regard to FIG. 6, including an LED emitting                has a thickness that ranges from 1 to 40 microns, depending
body 700 and positioning or aligmnent markers 750, lens               on the material and required electrical passivation level. In
760, arranged on a patterned cover substrate 710, and            35   an embodiment, the passivation layer 1170 covers in a
including metal pad 730 thereon. In an embodiment, the                conformal marmer the space between LEDs during manu-
LED is positioned with respect to said alignment marks 750.           facture. In another embodiment the spacing between the
Between adjacent LEDs on a wafer there is a space of, e.g.,           LEDs is not covered, or alternatively is revealed in a
50 microns for subsequent processing and dicing of the                mechanical process such as dicing. The other elements of
LEDs.                                                            40   LED device 1101 are similar to similar elements described
    The LEDs are individually assembled on a carrier wafer,           above.
with the GaN layers facing the carrier wafer. In case of                 In an additional embodiment the passivation layer can be
Silicon Carbide, the Silicon Carbide would be facing the              designed to be reflective by incorporating appropriate mate-
carrier. The carrier wafer layer is of optically transparent          rial particles within such as ZnO. The passivation layer is
material such as glass or plastic as described above. The        45   also removed to enhance the heat conduction of the LED.
cover can include other optical components such as lenses or          Hence to optimize the heat conductance, a maximal contact
light diffusing structures or light guiding structures. As            should be made between the metal and metal pads on the
mentioned, the phosphor or quantum dot layers enable the              LED and the metal layer. This is done by opening the largest
conversion of the light generated by the LED to other colors.         possible area on the passivation layer and preferably greater
The most common is the use of phosphor to enable White           50   than 80%. If the LED is designed with a thermal pad
light from a blue LED. In one embodiment the lens shape is            structure then the P connection can be connected to thermal
created by the surface tension of a drop of polymer or                and P pad or alternatively three metal connections are
silicone material. In another embodiment the lens is created          facilitated, N, P and thermal.
by hot embossing of a polymer, which is applied to one side              In another embodiment, the passivation is also removed in
of the carrier wafer. The carrier wafer may be further           55   areas where there is no metal layer, only the electrically
patterned to create specific drop shapes, sizes and desired           insulating layer. This can occur, if instead of the LED
surface qualities.                                                    described previously, a standard LED is used in which the
    The system may be coupled to other optical elements as            metal covers only a small portion of the top of the LED. In
would be appreciated by those skilled in the art. One or more         this case the metal layer deposited in this stage will provide
optical lens or assembly of optical lenses, Fresnel layers,      60   the heat removal and light reflection. In this marmer, the
filters, polarizing elements, or other members can be used to         exposed portions of the LED will extend beyond the metal
further affect the quality of the light provided by the LED           areas. The newly deposited metal will again cover substan-
device.                                                               tially all of the LED structure. In another embodiment, if the
    FIG. 8 illustrates another exemplary cross sectional view         electrical passivation layer is optically reflecting and heat
of a LED device 80. Standoff structures 837, made of a           65   conducting the layer may be maintained and the metal
suitable mechanically supportive material are created on the          passivation will cover substantially all the LED area but will
carrier wafer. The standoff structures 837 can comprise a             make a direct connection to the LED metal pads, and in other
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areas the connection layers would be through the passivation          formed, cast, shaped or otherwise contoured at the edges
layer, i.e. the layer stack would be, LED, LED passivation            thereof to form a configuration that is suitable for reflecting
layer, packaging passivation layer which provides low ther-           light upwards and out of the device. In some embodiments
mal resistance and light reflection, packaging metal for heat         the metallization layer 1780 acts like silvering of a face of
conduction.                                                      5    a mirror to achieve the above result.
   FIG. 12 shows a similar device 1201 to those described                FIG. 18 illustrates how more than one LED device like
above, except the passivation layer 1270 has been cut and             those described above can be manufactured on a single
dimensioned to expose a shoulder 1202 in the device, which            manufacturing platform or wafer. Here, two LED units
can be shaped in a beveled or contoured or angled way as              1801a and 1801b are electrically connected in the metalli-
shown in FIG. 13 to provide a mirrored surface 1302 for          10
                                                                      zation step of manufacturing the units. The LEDs can be
reflecting light out of the light emitting device 1301. The
                                                                      connected in parallel, serial or combinations of such con-
passivation layer 1370 or shoulders 1302 can be patterned in
                                                                      nections. These can be cut apart or in other embodiments can
a manner to provide for example optical reflectivity by
angling or shaping the edges of passivation layer 1370 or             be left arranged on the substrate without cutting so as to
shoulders 1302.                                                  15
                                                                      form a multi LED unit or light source.
   FIG. 14 illustrates another exemplary light emitting LED              The present invention should not be considered limited to
device 1401. Similarly numbered elements discussed earlier            the particular embodiments described above, but rather
are common to or similar to those in this exemplary embodi-           should be understood to cover all aspects of the invention as
ment. Here, contact holes 1472, 1474 are drilled or etched            fairly set out in the present claims. Various modifications,
into passivation layer material 1470, in one embodiment by       20   equivalent processes, as well as numerous structures to
use of a laser. This exposes a first contact 1472 at metal pad        which the present invention may be applicable, will be
1430 and a second contact 1474 at carrier 1420. If SiN or             readily apparent to those skilled in the art to which the
SiO2 are used, a plasma etch can also be used to create the           present invention is directed upon review of the present
contact holes. If the passivation layer is photo definable, a         disclosure. The claims are intended to cover such modifi-
lithography step can expose the pads. In another embodi-         25   cations.
ment the organic passivation layer is etched using a hard
mask made of inorganic material such as a thin metal or                  What is claimed is:
insulating layer and then using plasma etch to remove the                1. A light emitting device, comprising:
organic material.                                                        an optically transparent cover substrate;
   If a laser is used to drill through the passivation layers    30      an optically transparent layer attached to a bottom surface
1570 as shown in FIG. 15, the laser drilling can either stop                of said optically transparent cover substrate, said opti-
at the metal pad (blind via) as above, or it can continue so                cally transparent layer including an optically definable
as to cut through the metal pad 1530 as shown in FIG. 15 to                 material;
make electrical contact therewith.                                       a semiconductor LED including a positively-doped
   It is noted that passivation layer 1570 is cut or etched      35         region, an intrinsic region, and a negatively-doped
away as stated above so as to provide conducting access at                  region, wherein said intrinsic region is between said
least to the N-type semiconductor proximal to laser drilled                 positively-doped region and said negatively-doped
recess 1572 and the P-type semiconductor proximal to the                    region, and a first surface of said semiconductor LED
metallization layer as described earlier.                                   contacts a first portion of a bottom surface of said
   FIG. 16 illustrates yet another embodiment of a light         40         optically transparent layer;
emitting LED device 1601. Here, a metal seed layer 1680 is               a carrier layer proximal to a second surface of said
applied over the passivation layer 1670. The metal seed                     semiconductor LED, said first and second surfaces on
layer 1680 may be composed of any of titanium, chrome,                      opposing sides of said semiconductor LED;
nickel, palladium, platinum, copper or combinations of                   a passivation layer disposed on said carrier layer and on
these. The seed layer can be thickened using sputtering over     45         an exposed portion of said bottom surface of said
the initial seed layer. In one embodiment the seed layer 1680               optically transparent layer;
is patterned using electrophoretic deposited photo resist,               a first electrical contact disposed on said carrier layer in
spray coating resist, or thick resist, in one embodiment                    a first contact hole defined in said passivation layer; and
greater than 50 microns. The resist is patterned to create the           a second electrical contact disposed in a second contact
electrical routing connections and under bump metallization      50         hole defined in said passivation layer, said carrier layer,
(UBM).                                                                      and said semiconductor LED, said second electrical
   After patterning the resist, a thick metal layer, in one                 contact in electrical communication with said first
preferred embodiment between 10 and 40 microns is plated                    surface of said semiconductor LED.
in the defined patterns. The resist is removed and the bare              2. The light emitting device of claim 1 wherein said
seed layer is etched, in one non-limiting embodiment by          55   optically definable material is disposed in a portion of said
using a wet metal etch. In one embodiment a solder mask is            optically transparent layer.
applied to form such a layer. In operation, the layer 1680               3. The light emitting device of claim 2 wherein said first
provides enhanced electrical conductivity between external            surface of said semiconductor LED has a first length along
electrical components and the metallization layer or con-             a horizontal axis, said horizontal axis parallel to said first
ducting pads of the device. This layer 1680 also provides        60   surface of said semiconductor LED, and
maximum enhanced heat removal from LED layer 1600. A                     wherein said portion of said optically transparent layer
drilled aperture 1685 may be provided to allow electrical                   has a second length with respect to said horizontal axis,
contact with metal pad 1630, or may be filled in with some                  said second length less than said first length.
conducting or non-conducting material after formation.                   4. The light emitting device of claim 2 wherein said
   FIG. 17 illustrates an exemplary light emitting LED           65   optically transparent layer has a first height along a vertical
device 1701 where the edges of the passivation layer 1770             axis, said vertical axis orthogonal to said bottom surface of
and the metallizing layer 1780 have been beveled, cut,                said optically transparent layer, and
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   wherein said portion of said optically transparent layer
      has a second height along said vertical axis, said second
      height less than said first height.
   5. The light emitting device of claim 2 wherein said
optically definable material is embedded in said portion of       5
said optically transparent layer.
   6. The light emitting device of claim 1 wherein said
optically transparent layer is comprised of silicone.
   7. The light emitting device of claim 6 wherein said
optically definable material is comprised of phosphor.            10
   8. The light emitting device of claim 1 wherein said first
and second electrical contacts are comprised of at least one
of titanium, chrome, nickel, palladium, platinum, and cop-
per.
   9. The light emitting device of claim 1 wherein said           15
passivation layer is comprised of at least one of Si0 2 , SiN,
AlN, Al 2 0 3 , an epoxy, and an electrophoretic deposited
paint.
   10. The light emitting device of claim 1 wherein said first
and second electrical contacts comprise an electroplated          20
material.

                       * * * * *
